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                             UNITED STATED DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   ZACHARY YOUNG and
   NEMEX ENTERPRISES INC.,                                      Case. No.

                                 Plaintiffs,

                  v.                                            JURY DEMANDED

   CABLE NEWS NETWORK, INC.,

                                 Defendant.



                                               COMPLAINT

         Zachary Young (“Young”) and Nemex Enterprises Inc. file this Complaint against Cable

  News Network, Inc. (“CNN”) for defamation per se, defamation by implication, and trade libel.

         This case arose in the aftermath of the United States’ withdrawal from Afghanistan and the

  ensuing terror wrought by the Taliban’s re-rise to power. Young, a former U.S. government

  operative, began helping corporations and NGOs extract people from the country. CNN learned

  about Young’s activities and published a video segment claiming Young was “exploiting”

  “desperate Afghans” by offering evacuations from Afghanistan on a “black market.” But CNN’s

  claims were lies published for sensationalism.

         The truth is nothing like CNN told it. The fact is that in late 2021, Afghanistan fell to the

  Taliban. During that turmoil, Young began leveraging his unique skillset and relationships to assist

  U.S. corporations and charities that wanted to safely and swiftly extract certain persons from

  Afghanistan. Young was successful, saving dozens of lives for various corporate sponsors, and

  building a track record that led to more engagements with established corporations and NGOs.

  Contrary to CNN’s untrue and sensationalist reporting, Young never advertised to, or took a single
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  penny from, any Afghan, much less “exploited” “desperate Afghans.” And he certainly never sold

  any services on a “black market.” Everything he did was legal.

             Young was able to accomplish these extractions by virtue of his experience and sterling

  reputation. He dedicated his life to this country. He spent four years in the Navy. Thereafter, he

  spent years working for a military contractor providing security services to United States agencies

  operating in hostile environments overseas. He then spent many years working directly for the

  United States where he risked his life and freedom on a daily basis conducting various high-risk

  missions in the interest of national security. Young has held a security clearance since the age of

  20, a Top-Secret clearance at times, and worked tirelessly during his years of service to establish

  a strong reputation for honor, integrity, and excellence. After leaving government service Young

  transitioned to the private sector where he was able to trade on his good name and skills by assisting

  companies in various logistics and security consulting capacities.

             CNN, which ironically claims to be “The Most Trusted Name in News1” recklessly and

  maliciously destroyed Young’s hard-earned reputation and his livelihood by publishing its false

  and sensationalist “news” segment to more than 90 million households after being told by Young

  that their story was false. Clients and colleagues in the national security community simply cannot

  associate with anyone involved in “black markets” or “exploitation.” Thus, despite their falsity,

  CNN’s defamatory comments have rendered Young permanently unemployable in the career he

  has trained his whole life for, have resulted in Young’s income plunging to nothing, and have

  caused Young to suffer millions of dollars in lost income.

             And while this Court can force CNN to remedy the monetary damage it caused Young,

  CNN can never remedy the fact that they sacrificed actual human lives for the sake of ratings.



  1
      http://edition.cnn.com/services/trusted/


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  CNN painted a caricature of Young as a fly-by-night extortionist, but Young is a highly trained

  and effective security professional. He was unquestionably qualified to extract civilians from

  Afghanistan and, before CNN’s slander, he saved dozens of lives. CNN’s defamation, however,

  has rendered Young unable to provide these rare and vital services, and there just aren’t many

  other options out there. CNN’s vicious and self-righteous slander removed Young from the

  equation and condemned an unknowable number of Afghans to death.

                                               PARTIES

         A.       Zachary Young

         1.      Plaintiff Zachary Young is a United States citizen residing in Vienna, Austria. After

  high-school, Mr. Young served honorably in the U.S. Navy for four years. He then completed his

  bachelor’s and went on to earn a master’s in international affairs. While in graduate school, Young

  began working for a major U.S. military contractor, while simultaneously being recruited by a U.S.

  government agency.

         2.      The recruitment and security clearance process that Mr. Young went through was

  one of the most thorough and rigorous tests of honesty, integrity and loyalty conducted by any

  employer on the planet. He went through a years-long gauntlet of skills assessments, interviews,

  medical and psychological exams, in-depth background investigations, and numerous polygraph

  tests. From a pool of approximately 50,000 applicants, Mr. Young was one of approximately 50

  candidates able to complete this process before going on to serve in some of the most dangerous

  and challenging operating environments on the planet.

         3.      Mr. Young has since retired from his service and began a career providing various

  logistics and security-oriented consulting services to private clients.

         4.      Maintaining his status as a marketable security-oriented consultant and maintaining




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  his security clearance involves periodic investigation to identify any type of derogatory

  information including criminal activity, financial difficulties, and other measures of suitability for

  positions of trust. By falsely labeling Young a “black market” criminal who “exploits” victims

  via international media, Facebook, and Twitter, CNN has ended Young’s security career and likely

  jeopardized Young’s ability to maintain a security clearance.

         B.      Nemex Enterprises Inc.

         5.      Plaintiff Nemex Enterprises Inc. is a Florida corporation with its principal place of

  business in Boca Raton, FL.

         6.      Throughout his consulting career after leaving government service—including the

  activities which are the subject of CNN’s defamatory statements and this Complaint—Young has

  conducted all of his consulting services via established companies like Nemex. Young chose to

  work through a company in part because he wanted his business activity to be formal and

  transparent.

         7.      Young’s association with Nemex is a matter of public record. The Florida Secretary

  of State’s website is publicly searchable and shows that Nemex is a Florida for-profit organization

  and that Young is the company’s President. Additionally, any routine background check

  (consistent with any amount of diligence) would disclose Young’s association with Nemex.

         8.      CNN was further placed on notice of Nemex by Young’s own statements quoted in

  CNN’s broadcast. CNN’s broadcast displayed LinkedIn messages in which Young repeatedly used

  the first-person plural to refer to him and his company. CNN was also aware that Young provided

  highly specialized services to Fortune 500 companies and therefore that his business was

  conducted in a formal and professional manner.

         9.      CNN knowingly or recklessly failed to give Young a reasonable opportunity to




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  answer questions about his business and how he conducted evacuations, giving him only two hours

  before broadcasting the defamatory segment. Any reasonable effort by CNN to communicate with

  Young and to learn the facts would have, in addition to preventing the defamation, quickly turned

  up the fact that Young did his work through Nemex.

         10.     On information and belief, CNN was at all relevant times aware that Young

  operated his consulting business through Florida-based Nemex.

         11.     Any reasonable background check or investigation would have revealed that Young

  conducted his business through Nemex, and to the extent that CNN failed to perform basic due

  diligence that failure also proximately resulted in CNN's defamation and the injury to Young and

  Nemex.

         C.      Cable News Network, Inc.

         12.     Defendant CNN is a Delaware corporation. Touting itself as “The Most Trusted

  Name in News,” CNN is one of the world’s most well-recognized media companies. CNN’s broad

  network of television, website, social media accounts, and digital networks reaches millions of

  people in Florida. CNN has a bureau in Miami and is registered with the Florida Secretary of State

  as a foreign profit corporation authorized to do business in Florida. CNN’s headquarters are in

  Atlanta, Georgia.

                                  JURISDICTION AND VENUE

         13.     The United States District Court for the Southern District of Florida has subject

  matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1332 (Diversity).

         14.     The parties are citizens of different States and the amount in controversy exceeds

  $75,000 exclusive of interest and costs.

         15.     CNN is subject to the Court’s general and specific personal jurisdiction. The




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  broadcasts, internet postings and Tweets alleged in this Complaint were sent into Florida by CNN,

  are accessible in Florida and constituted electronic communications into Florida, which occurred

  over tens of thousands of times.

          16.     Venue is proper pursuant to 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2). The

  defamation which is the basis of this lawsuit was committed in the Southern District of Florida in

  addition to all over the world. Mr. Young carried out his consulting services through his Florida-

  based company, Nemex, which is domiciled in this District. Nemex directly suffered damages as

  a result of CNN’s action and is a Plaintiff in this action. CNN conducts substantial business in this

  District, is registered in Florida as a foreign corporation, maintains a registered agent in Plantation,

  Florida, operates a bureau in Miami, Florida, and has hundreds of agents in Florida who engage in

  daily business for CNN.

                                     FACTUAL ALLEGATIONS

          A.      Chaos in Afghanistan

          17.     In August 2021, Kabul fell to the Taliban. As a result, there was an urgent need for

  evacuations from Afghanistan. Afghans who had previously worked with coalition forces, or for

  American or European multinational corporations, as well as various religious and ethnic minority

  groups were targets for retaliation and assassination by the Taliban. Unfortunately, between the

  U.S. abandoning Bagram Airfield, the rapid collapse of the Afghan National Army, and the

  besiegement of Hamid Karzai International Airport, circumstances in Afghanistan made such

  evacuations extremely dangerous.

          18.     Soon after Afghanistan fell, a handful of non-profit organizations emerged to assist

  Afghans struggling to escape the country. Some of these organizations were legitimate non-profits

  focused on saving lives. Many of them were not. Some operated (and continue to operate) as quasi-




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  non-profit enterprises, accepting large amounts of money from governments and NGOs, paying

  handsome salaries to their founders, and using much of the remaining money to enrich their friends

  and contacts with lucrative subcontracts. Moreover, many of these quasi-non-profits weren’t

  properly equipped to coordinate the evacuations and failed at safely extracting people from

  Afghanistan—in many cases squandering huge amounts of resources on expensive, dangerous and

  often unsuccessful air evacuations.

         19.     While some nonprofits were better than others, the overarching problem was that

  there simply was not enough capacity. Corporations, non-profits, and other NGOs wanted

  thousands of people evacuated from Afghanistan right away and not enough resources were

  available to accomplish that enormous task. The problem, compounded by CNN’s defamation,

  continues to this day.

         20.     Due to the high demand for evacuations, and the limited ability to provide for them,

  multinational corporations and NGOs looked to the private sector to provide more efficient and

  reliable evacuation solutions.

         B.      Young steps in

         21.     In August 2021, in the midst of the chaos unfolding in Afghanistan, Young was

  living with his wife in Vienna, Austria, where he had settled after years of government service to

  focus on providing logistics and security-oriented consulting services. From his home in Vienna,

  and through his Florida-based company, Young continued to consult for major defense contractors.

         22.     In August 2021, Young recognized an urgent and unfilled need for someone with

  his experience and contacts to help American and European multinational corporations and NGOs

  extract their former employees and specific high-risk Afghans trapped inside Afghanistan.

         23.      Because Young sought to reach American and European corporations, as opposed




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  to Afghan refugees, he posted a notice on LinkedIn. “LinkedIn” is described by Wikipedia as “an

  American business and employment-oriented online service … primarily used for professional

  networking and career development.”

          24.       Directing his message, not to Afghans, but rather to “sponsors,” i.e. companies

  and NGOs interested in sponsoring an evacuation, Young posted several notices on LinkedIn

  stating he was able to perform short-notice evacuations from Afghanistan for corporate sponsors

  with funding.




          25.       Young was crystal clear in his posting that it was directed at “sponsor[s] with

  funding” – i.e. companies and NGO’s with the funds to pay for an evacuation. It was not directed

  at anyone else.

          26.       In wording his LinkedIn posting, Young went out of his way to avoid creating any

  false impressions or expectations. He did not seek responses from individual Afghan citizens. In

  fact, he actively discouraged individual Afghan citizens from contacting him by addressing his

  notice to sponsors with funding. The clear and express implication was that Young was inviting

  sponsors – and only sponsors – to be in touch with him.

          27.       And he did so on purpose. Young was a private citizen who needed to support

  himself. While the goal of charitable evacuations is laudable, Young simply wasn’t equipped to

  offer that.

          28.       CNN and its reporters knew that LinkedIn is a platform used by corporations and



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  professionals, and that Young would not have chosen to publish his notice on LinkedIn had he

  intended it to reach individual Afghans.

         29.     CNN knew or should have known that Young deliberately and obviously chose a

  platform that would be viewed by “sponsors” and not by individual Afghan citizens. In fact, if

  Young had wanted to reach individual Afghan citizens inside that country, he would have chosen

  a medium other than LinkedIn, such as Facebook, Twitter, or Telegram.

         30.     In sum, Young expressly and purposely offered his consulting services to large

  American and European corporate sponsors, seeking to help former employees or specific high-

  risk Afghans trapped inside Afghanistan. Young did not offer his services to anyone else. Nor

  could he. Young was a private citizen dedicating time, effort, and capital to this venture. He knew

  he could only afford to start this business and offer these services if the clientele that hired him

  had sufficient capital to afford the premiums necessary to operate in this space.

         C.      Young successfully evacuates scores of Afghans

         31.     Soon after Young posted his notice on LinkedIn, and as advertised, large

  multinational corporations and NGOs began contracting him for evacuations.

         32.     Young was first hired by Audible Inc., a multinational media company, with over

  one hundred global offices and 19,000 employees. They asked Young for his references, vetted

  his qualifications and chose to move forward.

         33.     As promised, Young leveraged his network to identify, contact, and engage highly

  qualified and reputable operatives on the ground in Afghanistan. He ensured communications were

  protected, operational security observed, and coordinated the legal evacuation and safe extraction

  of 3 high-risk young Afghan females for Audible.

         34.     Young’s next client was Bloomberg L.P., a multinational media corporation with




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  offices on five continents. As before, Young leveraged his network to identify, contact, and engage

  highly qualified and reputable operatives on the ground in Afghanistan. He ensured

  communications were protected, operational security observed, and coordinated the legal

  evacuation and safe extraction of 4 high-risk Afghan females and one child for Bloomberg.

          35.    Young’s next client was a Berlin, Germany-based NGO called CivilFleet-Support

  eV, which was originally formed to help finance expensive sea rescues, and whose mission

  expanded to including a range of refugee and humanitarian crises (“CivilFleet”). As with the

  previous clients, Young leveraged his network to identify, contact, and engage highly qualified

  and reputable operatives on the ground in Afghanistan. He ensured communications were

  protected, operational security observed, and coordinated the legal evacuation and safe extraction

  of 3 high-risk Afghan females for CivilFleet.

          36.    Young’s last client before CNN’s defamation brought his operations to a grinding

  halt was H.E.R.O Inc., a U.S. based NGO spearheading a campaign to help Afghan Christians

  (“HERO”). As with the Bloomberg, Audible, and CivilFleet, Young leveraged his network to

  identify, contact, and engage highly qualified and reputable operatives on the ground in

  Afghanistan. He ensured communications were protected, operational security observed, and

  coordinated the legal evacuation and safe extraction of more than a dozen high-risk Afghans for

  HERO.

          37.    Over the course of approximately three months, Young conducted 6 successful

  evacuations and saved dozens of high-risk Afghans from execution, torture and/or imprisonment

  by the Taliban. All of his clients were satisfied with Young’s work, not to mention the individuals

  whose lives were saved thanks to Young’s work.

          38.    These extractions are not easy or inexpensive to pull off, and all of Young’s clients




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  were well funded and compensated Young for his work. None of these clients were Afghan

  citizens.

          D.     CNN attacks Young and destroys his reputation and business

                 1.   Defamatory CNN video segment

          39.    CNN aired the offending video segment (“Segment”) on November 11, 2021 during

  a CNN show called “The Lead with Jake Tapper.” The Segment, in its entirety or in all relevant

  respects, was posted on the CNN website and on Facebook on or about November 12, 2021. The

  CNN reporters involved in the Segment were CNN employees Jake Tapper and Alex Marquardt.

          40.    The Segment opens up with Tapper describing the US government’s evacuation of

  US citizens and permanent residents.

          41.    Tapper then says, “still many Afghans, Afghans . . . who say their lives are at stake,

  they remain behind . . . Afghans trying to get out of the country face a black market full of

  promises, demand of exorbitant fees, and no guarantee of safety or success.” As he makes these

  introductory comments, CNN has a chyron emblazoned across the bottom of the screen which

  says: “AFGHANS TRYING TO FLEE TALIBAN FACE BLACK MARKETS, EXORBITANT

  FEES, NO GUARANTEE OF SAFETY OR SUCCESS.” The clear effect of the first few seconds

  of the Segment is to set up a false narrative of Young taking advantage of desperate Afghans on

  an illegal market. Something which he never did.

          42.    The Segment then switches to Marquardt describing the situation of a particular

  man located in the United States, but whose family remained in Afghanistan and were said to be

  targets of the Taliban. The man, whose identity is obfuscated for the safety of his family, says he

  found people on Facebook charging $10,000 per person to get people evacuated.

          43.    Marquardt then states that “according to Afghans and activists we’ve spoke with,




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  desperate Afghans are now being exploited” because of the “exorbitant” and “impossible” amounts

  charged for evacuation.2

          44.      Marquardt switches to a discussion with another man whose face is blurred

  (apparently located in Afghanistan). This man claims it would cost $50,000 to extract one family

  and that people he spoke with demanded payment before they would extract anyone. After

  discussions with this man about the fact that the United States was doing nothing to help,

  Marquardt says the man went online and found Young.

          45.       Marquardt names Young and displays a photograph of him, with a chyron below

  reading “AFGHANS AND ACTIVISTS REPORT DEMANDS OF $10K-$14K FOR

  ATTEMPTS TO GET FAMILY MEMBERS OUT OF COUNTRY” (the “Demand Chyron”). A

  representation of the Demand Chyron appears below:




          46.      The Segment then claims that Young is “one of many advertising evacuations from


  2
   While CNN purports to hide behind what “Afghans and activists” supposedly said, in a later Tweet, Marquart and
  CNN made the accusation in their own name saying simply that “[t]here is growing exploitation of desperate
  Afghans,” and then referring to the Segment and to Young. See infra paragraph 63.


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  Afghanistan,” and then shows the LinkedIn post mentioned above where Young is purposely

  targeting sponsors, and not Afghans. In fact, the entire message Young posted states “If you are

  a sponsor, WITH FUNDING, serious to evacuate people from Afghanistan on short notice, please

  reach out. We can provide references and we can deliver.” (bold emphasis added). Eager to push

  his false narrative of Young making exploitative sales to Afghans on black markets, however,

  Marquardt only reads the portion of Young’s message that says “we can deliver.”

         47.     Marquardt then posts a chat log on the screen between Young and an unnamed

  person who requested information from Young. Below the chat log the CNN chyron reads:

  “AFGHANS TRYING TO FLEE TALIBAN FACE BLACK MARKETS, EXHORBITANT

  FEES, NO GUARANTEE OF SAFETY OR SUCCESS” (the “Black-Market Chyron”). A

  representation of the Black-Market Chyron appears below:




         48.     In reality, this messaging was initiated by the unnamed individual, and Young

  responded truthfully and quickly. He said it would cost $75,000 for a vehicle of 5-6 passengers,

  that Young could facilitate passports, but that these services cost money. Young also said he could


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  provide references to recent corporate sponsors who have used him, including Audible and

  Bloomberg. But Marquardt, on message for his false narrative of Young’s exploitative sales to

  Afghan victims on black markets, simply highlighted the cost of the evacuation. All the while, the

  Black Market Chyron is still blazoned across the screen – making the clear statement that Young

  was operating on a black market. That Young was exploiting desperate Afghans.

         49.     Marquardt then posts another message from Young about the pricing for air travel

  to the UAE that includes a four-month visa, at $14.5k per passenger. The actual message discusses

  how the sponsor would need to arrange for onward travel (after the visa expires), and if they can’t

  provide for such onward travel, Young can offer that travel to Albania for an additional $4K, where

  “refugee status” would be obtained at arrival. Marquardt ignores all the hallmarks of a legal

  operator discussing visas, refugee status, and sponsors, and focuses (again) on just the cost of these

  services. And while doing so, the Black Market Chyron is still blazoned across the screen – making

  the clear (and false) statement that Young was operating on an illegal black market. That Young

  was exploiting Afghans.

         50.     With the Black-Market Chyron still displayed, the Segment shows Marquardt

  ostensibly trying to reach Young by phone and stating: “We got Young’s number and called, but

  he didn’t

  pick up.” The chyron then clears.

         51.     In this way, the Segment (over and over again) stated or falsely implied that Young

  sold evacuations on a “black market”—by definition an illegal market—when in reality, Young

  never broke the law and the work he did was fully legal.

         52.     It also repeatedly states or falsely implied that Young was exploiting desperate

  Afghans – when in reality, Young never sold his services to Afghans and targeted corporate




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  sponsors.

         53.     Next, Marquardt reads a text message attributed to Young as it is displayed. As he

  does, the Black-Market Chyron reappears on the screen.

         54.     Towards the end of the Segment, Marquardt states that “there are just so many more

  Afghans that want to get out of the country and that just drives prices higher and higher.” He then

  references a text message from Young talking about limited availability and high demand.

  Marquardt’s statement about “so many Afghans that want to get out” supposedly “driv[ing] prices

  higher and higher” was calculated to create the false impression that demand by Afghans was

  driving the price of evacuation services and that Young was peddling his services to those

  desperate Afghans to exploit them. Contrary to CNN’s malicious insinuations, high demand by

  Afghans was not the driving force of the market dynamics for evacuations and evacuation prices,

  because those prices were not paid by Afghans but instead by well financed sponsors. By stating

  that the cause of higher prices was “so many Afghans that want to get out” CNN intentionally

  created this false impression even though Young repeatedly told CNN that he only worked for

  corporate sponsors and that the prices charged to those corporate sponsors was determined by high

  demand created by corporations and NGOs wanting to pay for those services.

         55.     The sum and substance of the Segment states and implies that Young marketed

  evacuations directly to Afghan citizens, that he exploited Afghan citizens, and that he sold them

  illegal goods/services.

                 2.    Defamatory CNN Article

         56.     On November 13, 2021, CNN published a written article, also by Marquardt (with

  contribution from Katie Bo Williams), on the Politics section of the CNN website, titled “Some

  Afghans trying to flee country face exorbitant costs as Blinken touts success of efforts to help




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  Americans” (the “Article”). See Exhibit A. Until recently, the Article included the video Segment

  just below the byline. After Young issued a demand for retraction, on March 17, 2022, CNN

  removed the video Segment from the web and on or about that time, issued a purported retraction

  and apology – thereby admitting the false and defamatory nature of its statements.

         57.     The Article opened by stating that “Afghans desperate to flee the country are

  increasingly having to negotiate with private operators charging exorbitant sums.” (Ex. A,

  (emphasis added)). It then cites Hazami Barmada, a “humanitarian aid worker,” for the proposition

  that “people ‘absolutely are’ making money by exploiting that desperation.” The Article then

  names Young—and only Young—as a purveyor of these evacuation services. In this way, the

  Article states or falsely implies that Young exploited “desperate Afghans” charging them

  exorbitant prices. In fact, Young never took a single penny from any Afghan person nor did he

  advertise to them.

         58.     The Article then insinuates that Young’s claims of evacuation are fabricated and

  that he is simply extorting people for false promises of evacuation. Specifically, CNN states that

  “it has not confirmed whether these operators charging the high fees have successfully evacuated

  anyone who paid to exit the country, as Young claims.” In truth, CNN reached out to Young and

  gave him just hours to respond. Had CNN bothered to do a non-negligent/good-faith investigation,

  Young could have demonstrated that he successfully evacuated dozens of high-risk Afghans. SNN

  did not confirm because they didn’t want to confirm. Instead of confirming, which CNN should

  have done, it instead showed Marquardt with a furrowed brow supposedly trying to phone

  Young—giving the impression that CNN had failed to confirm whether Young was successful

  after thorough and diligent investigation.

         59.     In the context of the Article and the Segment, CNN’s statement that it “has not




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  confirmed” whether Young successfully evacuated anyone (which CNN says after portraying

  Young an extortionist and criminal and its own journalists as thorough and diligent) falsely implied

  that the reason CNN was unable to confirm that Young had successfully evacuated anyone from

  Afghanistan was because Young had not done so. Indeed, after the Article was posted, numerous

  people with no connection to Young pointed to the Article on social media and made comments

  falsely stating that Young was a scam artist and that he took people’s money without helping to

  secure any evacuations. These postings on social media conclusively demonstrate that the effect

  of CNN’s statement was to create the belief in readers that Young was a scam artist who had not

  in fact carried out successful evacuations.

         60.     CNN’s statement that “it has not confirmed whether these operators charging the

  high fees have successfully evacuated anyone who paid to exit the country, as Young claims”

  (emphasis added) also furthered the false narrative that Young exploited Afghans by essentially

  saying that the people who exited the country were the ones paying Young’s fees. In fact, Young

  only took fees from sponsors.

         61.     The Article appears in substantially identical form on multiple news websites,

  including awsforwp.com, creatorsempire.com, and KAKE.com (a Wichita, Kansas ABC affiliate),

  but with no embedded video and no reference to “black markets.”

                 3.    Defamatory CNN Tweets

         62.     On November 11, 2021, @TheLeadCNN, a blue-check (i.e. Twitter authenticated)

  twitter account for The Lead, with Jack Tapper, tweeted: “Afghans trying to get out of the country

  face a black market of promises, exorbitant fees and no guarantee of safety or success.”

  (emphasis added). Embedded with the tweet was the video Segment. It was retweeted by Natasha

  Bertrand, a CNN reporter.




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         63.     On November 12, 2021, Alexander Marquardt retweeted the above, and added

  the following: “There is growing exploitation of desperate Afghans trying to get out. Private

  operators telling them it’ll take families 10s of 1000s of dollars. We spoke with two Afghans

  trying to get their families out.” Marquardt then adds a comment, naming Young as the sole

  example of this so-called exploitation:




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         64.     Marquardt’s tweet was retweeted by Jennifer Hansler, another CNN reporter, and

  by Michael Conte, a CNN producer.

         E.      CNN’s statements were false and defamatory

         65.     CNN’s Segment, Article and subsequent tweets contain, at a minimum, the

  following objectively false and defamatory statements or insinuations:

         66.     First, CNN defamed Young by stating or directly insinuating that Young provided

  his services on a “black market” – a per se defamatory accusation because it falsely entailed that

  Young’s conduct was illegal. Webster’s Dictionary online defines “black market” to mean “illicit

  trade in goods or commodities in violation of official regulations.” BLACK MARKET, Merriam-

  Webster.com (2022), https://www.merriam-webster.com/dictionary/black-market. Black’s Law

  Dictionary defines “black market” as “[a]n illegal market for goods that are controlled or

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  prohibited by the government, such as the underground market for prescription drugs.” MARKET,

  Black's Law Dictionary (11th ed. 2019). But the reality is that everything Young did was legal.

          67.      Second, CNN defamed Young by stating or directly insinuating that Young

  “advertised” his services to desperate Afghans and exploited them through “demand[ing]” high

  prices from them. In fact, Young did not advertise to desperate Afghans, nor did he demand high

  prices from them. Instead, he intentionally advertised his services only to “sponsors,” i.e.,

  American and European corporations and NGOs—not to individual Afghans. His “demands” for

  payment was to those entities.3

          68.      Third, CNN defamed Young by stating or directly insinuating that Young

  “exploited” “desperate Afghans.” In fact, Young never took a single penny from any Afghan

  citizens, never targeted advertisements to them, and specifically advertised to just “sponsors,” i.e.,

  American and European corporations and NGOs. He also only accepted money from Western

  corporations and NGOs.

          F.       CNN acted (at best) negligently

          69.      CNN’s actions described above were (at best) negligent as, inter alia, CNN lacked

  reasonable grounds for a belief in the truth of its statements, had actual notice from Young that

  their story was false, and acted negligently in failing to determine the true facts and running the

  story despite being advised that their story was wrong.

          70.      CNN was aware of, and even broadcast, messages by Young confirming his

  company provided evacuations for major corporate clients including Audible and Bloomberg,

  which would be extremely unlikely to sponsor illegal “black market” activity of any kind.



  3
    While Young provided prices to Afghans that reached out to him directly, he (i) did not advertise to those
  individuals, (ii) was simply responding out of courtesy as ignoring them seemed inhumane, and (iii) advised them
  they needed a sponsor.


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          71.     Prior to broadcasting the Segment, CNN spoke with representatives of multiple

  established organizations and NGO’s providing evacuations from Afghanistan and therefore was

  well aware that providing these evacuations was completely legal.

          72.     CNN was also aware, and had been told by third parties, that Young was a former

  U.S. government agent.

          73.     CNN failed to independently investigate and educate itself about the fact that

  Young’s provision of evacuations from Afghanistan was legal, and not being offered on a “black

  market.” No credible research they could have done would have demonstrated Young operated on

  a “black market” and they had no good faith reason to publish that about Young.

          74.     CNN knew from the messages they obtained, but ignored, that Young only

  “advertised” his services to, and sought to do business with, corporate sponsors and not Afghans.

  CNN also knew but ignored the fact that Young never demanded high prices from Afghans – he

  only provided them with the costs of the services on their request (the same cost it would have

  been to a sponsor).

          75.     Moreover, any non-negligent investigation would have revealed that Young never

  took a dime from any Afghan. Thus, CNN knew (and should have known) that Young had not

  “exploited” “desperate Afghans.” Nonetheless, CNN disregarded those facts and accused Young

  of doing just that.

          76.     In fact, CNN deliberately ignored and suppressed information in its own possession

  that demonstrated Young never exploited any Afghans. For example, while CNN was in

  possession of numerous posts from Young directed to “sponsors,” and even messages from Young

  telling Afghans who reached out to him directly that they needed a corporate sponsor, CNN

  nonetheless insinuated Young was among the private operators exploiting desperate Afghans.




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  CNN spread this misinformation about Young in an attempt to generate moral outrage and enhance

  its ratings.

          77.    Moreover, CNN did not give Young a meaningful opportunity to comment and

  correct CNN’s many mistakes. In the Segment, Marquardt claims that he tried to call Young for

  comment and that Young did not pick up. But Young did not know Marquardt or his phone number

  and had no reason to pick up a random phone calls from a stranger. Significantly, Marquardt never

  left a message telling Young who was calling and the purpose of the call.

          78.    Instead, Marquart waited until the day before the Segment was scheduled to air to

  send a text message to Young telling Young that CNN was “going to be running a piece in which

  we detail your interactions with people inquiring about your services and the prices to evacuate

  people from Afghanistan.” Young responded the next day asking Marquardt to “[p]lease provide

  a list of questions, as well as the facts and assertions about me you intend to publish.” Marquardt

  responded three minutes later saying: “This piece is running this afternoon DC time.” Young

  then informed Marquardt that this was not a realistic deadline and that “in any case, I can tell you

  for sure, some of your facts/assertions [are] not accurate, and if they are published, I will seek

  legal damages.” Marquardt didn’t offer to delay the piece to give Young enough time to respond

  and simply ran the inaccurate story. CNN failed to make a reasonable effort to learn the facts

  from Young or allow Young to supply the true version of events.

          G.     CNN’s publication caused serious injury to Young

          79.    The consequences of CNN’s false, misleading and defaming broadcast, article and

  Tweets were devastating and immediate.

          80.    For Young and others with a background in military special operations or national

  security services, maintaining a reputation as a legally abiding professional with integrity is




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  critical. Widely disseminated defamatory claims are therefore especially damaging to members of

  this insular community.

         81.     Young belongs to a small and elite community of former U.S. national security

  professionals capable of solving challenging problems in non-permissive environments such as

  Afghanistan, where stakes are high and discretion and reliability mean everything. Once a person’s

  reputation for discretion, reliability, integrity, and professionalism are eroded, it is impossible to

  recover in this line of work.

         82.     Young has maintained that reputation and a government security clearance for most

  of his adult life. The vast majority of Young’s most valuable contacts, like Young, maintain

  security clearances and similar reputations which they are unwilling to jeopardize by being

  associated with a “black market” criminal, without integrity, who is exploiting the public (as

  Young has been publicly branded by CNN).

         83.     Prior to CNN’s defamatory broadcast, article and Tweets, Young enjoyed a

  successful consulting career and was extremely successful providing extractions from Afghanistan

  for corporate sponsors. Since CNN’s defamatory publications, Young’s evacuation business ended

  and his entire consulting business has collapsed. Despite earning hundreds of thousands of dollars

  in yearly consulting income for many years before CNN’s defamation, his consulting income has

  plummeted to $0 since. His evacuation business has likewise plummeted to $0 since CNN’s

  broadcast. No one in Young’s community will touch him as CNN has turned him into an

  international pariah. As explained above, Young does not have any realistic prospects of ever

  reviving his career.




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                                      CLAIMS FOR RELIEF

                               COUNT I – DEFAMATION PER SE

                                   (On behalf of Plaintiff Young)

         84.     Plaintiffs restate each of the foregoing paragraphs of the Complaint and incorporate

  them herein by reference.

         85.     CNN made, published and republished false factual statements of or concerning

  Young. Using Young’s image, edited quotations from Young and flashy chyrons, CNN falsely

  stated or implied and insinuated that Young operated on a “black market”; “advertised” his services

  to desperate Afghans, “demand[ed]” high prices from them; and “exploited” those “desperate

  Afghans.”

         86.     CNN published the false statements without privilege of any kind.

         87.     CNN’s statements are materially false. Young’s activities were fully legal and not

  on a black market, he directed his evacuation skills to corporate and NGO sponsors, and never

  advertised to, demanded, took money from, or exploited Afghans.

         88.     CNN’s false statements constitute defamation per se. CNN’s false statements tend

  to subject Young to hatred, distrust, ridicule, contempt, or disgrace. The false statements also

  impute to Young the commission of a crime.

         89.     By broadcasting the false statements to tens of millions of people on cable

  television, publishing the statements on the Internet and republishing via social media, CNN knew

  or should have known that the false statements would be republished over and over by third-parties

  to Young’s detriment. Republication by CNN’s followers, subscribers, readers, other media

  outlets, and by users of Twitter was the natural and probable consequence of CNN’s actions and

  was actually and/or presumptively authorized by CNN. In addition to its original publications,




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  CNN is liable for the republications of the false and defamatory statements by third-parties under

  the republication rule.

          90.     As a direct result of CNN’s defamation, Young suffered presumed damages and

  actual injury, including, but not limited to, insult, pain, embarrassment, humiliation, emotional

  suffering, injury to his reputation, lost future earnings and diminished earning capacity, costs and

  other out-of-pocket expenses, in a sum to be determined by the Jury.

          91.     CNN published the false and defamatory statements negligently, recklessly, and

  with knowledge the claims were false.

          92.     CNN published the false statements about Young without reasonable care as to

  the truth or falsity of those statements.

          93.     CNN published the false and defamatory statements with actual malice:

                  a.        CNN knew its statements about Young were false. Young told them so and

  told them he needed more time to address their questions. CNN knew that it had no factual basis

  to accuse Young of advertising evacuations to desperate Afghans, didn’t give Young time to revert,

  and rushed to publish their defamatory broadcast, article, and Tweets.

                  b.        CNN knew its statements about Young demanding high prices from

  desperate Afghans was false.

                  c.        CNN knew its statements about Young “exploiting” Afghans was false and

  that Young did not take money from Afghans.

                  d.        CNN knew that its statements about Young operating in a “black market”

  were false.

                  e.        CNN made each of its false and defamatory statements in sensationalized

  and highly emotional publications designed to elicit moral outrage toward Young.




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                 f.     CNN reiterated, repeated and excessively caused the publication and

  republication of the false and defamatory statements and imputations out of a desire to hurt Young

  and to permanently stigmatize him.

                 g.     And CNN failed to provide Young with a reasonable amount of time to

  provide the truth before rushing to publish so they could maintain some kind of “cover” for his

  alleged “failure” to tell them the truth. In this way creating a false exculpatory exchange with

  Young.

           94.   Young is entitled to punitive damages.

                        COUNT II – DEFAMATION BY IMPLICATION

                                  (On behalf of Plaintiff Young)

           95.   Plaintiffs restate the foregoing paragraphs 1 until 83 of the Complaint and

  incorporate them herein by reference.

           96.   In the alternative to Count I (defamation per se), the strong defamatory gist and

  false implication from the CNN publications alleged herein are that Young advertised evacuations

  to desperate Afghans; “demanded” high prices from them; operated on an illegal “black market”;

  that Young “exploited” “desperate Afghans” by taking exorbitant amounts of money from them;

  and that Young was a scam artist who made false promises.

           97.   CNN chose its words to maximum effect and purposefully misrepresented facts.

  CNN juxtaposed a series of facts so as to imply a defamatory connection between them.

           98.   CNN spoke about high prices being demanded of and charged to desperate

  Afghans, exploitation and “black markets” for evacuations, but only mentioned Zachary Young

  and nobody else doing evacuations.

           99.   CNN stated that Afghans “face … exorbitant fees” even though Young never took




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  a penny from any Afghan.

         100.     CNN stated that Young advertised evacuations and that Afghans “reported

  demands” of high prices, knowing that Young never directed advertisements to any Afghans and

  that Young’s LinkedIn notice was directed only at corporate sponsors.

         101.     CNN stated that Young’s prices were “well beyond the reach of most Afghans,”

  creating the impression that Young charged or sought to charge those prices to Afghans.

         102.     CNN stated that it was unable to confirm whether Young had successfully

  evacuated anyone, after portraying Young as a criminal and CNN as having conducted a diligent

  investigation, which had the actual effect of convincing readers (many of whom posted messages

  on social media to this effect) that Young was a scam artist who could not deliver.

         103.     As a direct result of CNN’s defamation by implication, Young suffered damages

  and actual injury, including, but not limited to, insult, pain, embarrassment, humiliation, emotional

  suffering, injury to his reputation, lost future earnings and diminished earning capacity, costs and

  other out-of-pocket expenses, in an amount to be determined by the Jury.

         104.     CNN published the false statements intentionally, deliberately and with actual

  malice. For the reasons stated in paragraph 93 above, CNN is liable to Young for punitive

  damages.

                     COUNT III – DEFAMATION PER SE (GROUP LIBEL)

                                   (On behalf of Plaintiff Young)

         105.     Plaintiffs restate the foregoing paragraphs 1 until 83 and incorporate them herein

  by reference.

         106.     CNN stated that providers of evacuations from Afghanistan were selling their

  services on a “black market” -- a per se defamatory accusation of illegal conduct.




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         107.    A Tweet by Marquardt stated that “[t]here is growing exploitation of desperate

  Afghans trying to get out. Private operators telling them it’ll take families 10s of 1000s of dollars.”

         108.    Marquardt’s statements about providers of evacuations operating in a “black

  market” and “growing exploitation [by] … private operators” concerned a small group or class of

  persons.

         109.    The circumstances of Marquardt’s statements that evacuations were being sold on

  a “black market” and that “there is growing exploitation [by private operators] of desperate

  Afghans trying to get out” reasonably gave rise to the conclusion that these statements made

  particular reference to Young, because he was the focus of the Segment, the Article and of multiple

  Tweets and was the only person evacuating Afghans identified by Marquardt or CNN.

         110.    Marquardt’s statements about “black markets” and private operators exploiting

  desperate Afghans by charging tens of thousands of dollars was false as it pertained to Young.

  Young never broke the law and Young’s fees for evacuations were paid by multinational

  corporations and other entities with funding. He did not charge such fees to Afghans or “exploit”

  Afghans.

         111.    As such, Marquart’s accusations that providers of evacuations operated in a “black

  market” and that “[t]here is growing exploitation of desperate Afghans trying to get out [by]...

  Private operators” was false as it applied to Young.

         112.    Marquardt’s statements that providers of evacuations operated in a “black market”

  and that “[t]here is growing exploitation of desperate Afghans trying to get out [by]... Private

  operators” were made without reasonable care as to the truth or falsity of the statements.

         113.    As a direct result of CNN’s group libel, Young suffered presumed damages and

  actual injury, including, but not limited to, insult, pain, embarrassment, humiliation, emotional




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  suffering, injury to his reputation, lost future earnings and diminished earning capacity, costs and

  other out-of-pocket expenses, in an amount to be determined by the Jury.

          114.    CNN published the false and defamatory statements negligently, recklessly, and

  with knowledge the claims were false.

          115.    CNN published the false statements about Young without reasonable care as to the

  truth or falsity of the statements.

          116.    CNN published the false statements intentionally, deliberately and with actual

  malice as set forth in paragraph 93 above. Young is entitled to punitive damages.

                                        COUNT IV – TRADE LIBEL

                                        (On behalf of Plaintiff Nemex)

          117.    Plaintiffs restate the foregoing paragraphs 1 until 83 of the Complaint and

  incorporate them herein by reference.

          118.    CNN published false statements that CNN knew or should have known would

  likely result in inducing others not to deal with Nemex.

          119.    The falsehoods published by CNN played a material and substantial part in

  inducing others not to deal with Nemex.

          120.    Nemex suffered damages as the direct and proximate result of CNN’s published

  falsehoods.

          121.    CNN published the false statements intentionally, deliberately and with actual

  malice. For the reasons stated in paragraph 93 above, CNN is liable to Nemex for punitive

  damages.




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                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request the Court to enter judgment against CNN

  as follows:

         A.     Awarding damages for detraction from Plaintiffs’ good name and reputation,

                damage to future earnings/lost profits, and Young’s mental anguish, distress and

                humiliation;

         B.     Awarding punitive damages in the maximum amount permitted by law;

         C.     Awarding pre- and post-judgment interest;

         D.     Assessing costs and fees incurred in the prosecution of this action; and

         E.     Granting such other and further relief as this Court may deem just and proper.



                                  JURY TRIAL DEMANDED


  Dated: March 31, 2022                       Respectfully Submitted,

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